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AO 245D (Rev. 09/19)   Judgment in a Criminal case for Revocations
                       Shectl



                                      UNITED STATES DISTRICT COURT                                                         JUL O8- 2022
                                                         Eastern District of Arkansas                           TAMMY H. DO~RK

            UNITED STATES OF AMERICA                                   ~   JUDGMENT IN A ~ A L ~-iiEPCLERK
                                 V.                                    )   (For Revocation of Probation or Supervised Release)
                                                                       )
                   SPENCER L. WARD                                     )
                                                                       ) Case No. 4:21-CR-00300-BSM-1
                                                                       ) USMNo. 09993-010
                                                                       )
                                                                       )   Joyce W. Eubanks
                                                                                                   Defendant's Attorney
THE DEFENDANT:
rf   admitted guih to violation of condition(s)         __,_1_ _ _ _ _ _ _ _ of the term of supervision.
~ was found in violation of condition(s) count(s) 2                                   after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number              Nature or Violation                                                                 Violation Ended
1 - Mandatory (3)               You must refrain from unlawful use of a controlled substance.                     06/02/2022
                                 You must submit to one drug test within 15 days of release

                                 from imprisonment and          at least two periodic drug tests
                                 thereafter, as determined by the court.

       The defendant is sentenced as provided in pages 2 through __4_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant bas not violated condition(s) _ _ _ _ _ _ and is discharged as to such violation(s) condition.

        It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
change of name, residence, or mail~ address unti1 all fines, restitution, costs, and ~ial assessments imposc:4 by this judgment are
fully ~d if ordered to pay restitution, the defendant must notify the court and Unifed States attorney of inateriafchanges m
econonnc cJrCumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3816                                                     06/28/2022
                                                                                               Date of Imposition of Judgment

                                                                                        ~b~
Defendant's Year of Birth:            1978

City and State of Defendant's Residence:                                                              Signature of Judge
Little Rock, Arkansas
                                                                                          Brian S. Miller, U.S. District Judge
                                                                                                    Name and Title of Judge

                                                                                                        7/8/2022
                                                                                                               Date
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AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet IA
                                                                                               Judgment-Page _2___ of _ _4"--_
DEFENDANT: SPENCERL.WARD
CASE NUMBER: 4:21-CR-00300-BSM-1

                                                  ADDITIONAL VIOLATIONS

                                                                                                                     Violation
Violation Number               Nature of Violation                                                                   Concluded
2 - Special (2)                The defendant shall comply with any referral deemed appropriate by the                06/13/2022

                                  probation officer for inpatient or outpatient evaluation, treatment, counseling,
                                  and/or testing for substance abuse issues.
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AO 24S0 (Rev. 09/19)    Judgment in a Criminal Case for RevOCltions
                        Sheet 2- lmprisomncnt
                                                                                                  Judgment-Page   3     of   4
DEFENDANT: SPENCER L. WARD
CASE NUMBER: 4:21-CR-00300-BSM-1


                                                             IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
tenn of:
TWELVE (12) MONTHS AND 1 DAY




    D The court makes the following recommendations to the Bureau of Prisons:




    D The defendant is remanded to the custody of the United States Marshal.

    if'   The defendant shall surrender to the United States Marshal for this district
          ~    at      02:00                       D a.m.        ill'   p.m.   on   _06/_30_/2_02_2_ _ _ _ _ __
          D    as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D    before noon on
          D    as notified by the United States Marshal.
          D    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                        to

at _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                               By-------------------
                                                                                             DEPU1Y UNITED STATES MARSHAL
                Case 4:21-cr-00300-BSM Document 20 Filed 07/08/22 Page 4 of 4

AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocatiom
                       Sheet 3 - Supervised Release
                                                                                                 Judgment-Page   _4_     of        4
DEFENDANT: SPENCER L. WARD
CASE NUMBER: 4:21-CR-00300-BSM-1
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 NONE




                                                   MANDATORYCONDIDONS
l.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as detennined by the court.
                 D The above drug testing condition is suspended, ~ on the court's detennination that you pose a low risk of future
                     substance abuse. (check ifapplicable)
4.      D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check ifapplicable)
 5.     D You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
 6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, el seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
           where you reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicahle)
 7.     D You must participate in an approved program for domestic violence. (check ifopplicable)

 You must comply with the standard. conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
